Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 1 of 24          PageID 2609




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


   FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,
                                              Case No. 2:20-cv-02600-SHL-tmp
   v.
                                              JURY TRIAL DEMANDED
   VARSITY BRANDS, LLC, et al.,

                    Defendants.


   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC., et al.,

                    Plaintiffs,               Case No. 2:20-cv-2782-SHL-tmp

   v.                                         JURY TRIAL DEMANDED

   VARSITY BRANDS, LLC, et al,

                    Defendants.

   JONES, et al.,

                    Plaintiffs,
                                              Case No. 2:20-cv-02892-SHL-tmp
   v.
                                              JURY TRIAL DEMANDED
   BAIN CAPITAL PRIVATE EQUITY, et al.,

                    Defendants.



            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ JOINT
                 MOTION TO MODIFY SCHEDULING ORDERS




                                          1
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 2 of 24                                                                PageID 2610




                                                   TABLE OF CONTENTS


   I.     INTRODUCTION ...............................................................................................................2

   II.    LEGAL STANDARD.........................................................................................................4

   III.   FACTUAL BACKGROUND ..............................................................................................5

          A.        Fusion Elite Discovery ............................................................................................5

          B.        Jones Discovery .......................................................................................................8

          C.        American Spirit Discovery .....................................................................................10

          D.        Depositions ............................................................................................................11
   IV.    ARGUMENT .....................................................................................................................13

          A.        Plaintiffs Have Acted Diligently and Seek Additional Time Before Deadlines Pass
                    ................................................................................................................................13

          B.        Plaintiffs Will Be Unduly Prejudiced Under the Current Schedule ......................16

   V.     CONCLUSION ..................................................................................................................18




                                                                        i
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 3 of 24   PageID 2611
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 4 of 24   PageID 2612
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 5 of 24                          PageID 2613




   filed by all Plaintiffs (the latter of which was resolved in Plaintiffs’ favor). As this Court is

   aware, the Related Actions collectively involve claims alleging misconduct spanning many

   years, brought under federal and state antitrust (monopolization and conspiracy) and consumer

   protection statutes, and claims for injunctive relief. The lawsuits are not identical. They involve

   different groups of plaintiffs bringing different (albeit partially overlapping) claims, involving

   different markets, including All Star and school cheerleading competitions, All Star and school

   cheer apparel, camps, academic regalia, and band uniforms. The cases also involve different

   damage theories, e.g., direct purchasers claim an illegal overcharge on direct payments to

   defendant Varsity, and indirect purchasers claim illegal overcharges in each of the markets

   alleged in that case to the athletes and their parents. Additionally, indirect purchasers, Jones

   Plaintiffs, must also support their claims that the illegal overcharges were passed on to athletes

   and their family in each market. Proving these logistically complex claims requires significant

   documents and data, much of which has not yet been produced.

           That Plaintiffs have been forced to seek the intervention of this Court (and another court)

   to resolve eight discovery disputes—including with a non-party subpoena recipient— in six

   months’ time speaks to the hurdles they have faced. Despite Plaintiffs’ good faith and diligent

   efforts to pursue and obtain discovery from defendants and non-parties, documents and data

   productions are outstanding on all fronts. The party defendants are substantially in arrears with

   respect to their discovery obligations. Several defendants in Jones and American Spirit have not

   produced any documents or data at all. While Varsity has recently agreed to produce

   transactional data related to camps and schools in Jones, the data has not yet been produced, and

   the specific fields may need to be supplemented or addressed once the data is received. Follow

   up questions on the data are also expected, as is common in antitrust class actions, which could

   cause additional delay. Despite Fusion Elite Plaintiffs’ and USASF’s ongoing best efforts to re-

                                                      3
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 6 of 24                        PageID 2614




   negotiate search terms in accordance with Magistrate Claxton’s Order, (No. 20-cv-2600, Dkt.

   133), many of USASF’s documents have yet to be produced, and most of its custodians’

   productions are incomplete. Finally, despite the diligence of Plaintiffs’ counsel, who have

   collectively served (or attempted to serve) over 60 non-party subpoenas, a significant amount of

   non-party discovery has yet to be completed, with substantial production not expected to be

   completed for several months, under the most optimistic estimate. Delay in document production

   has cascading effects, for example, delaying depositions until relevant documents have been

   produced and the parties have had a chance to review and analyze them. Plaintiffs in the Related

   Actions are now facing depositions without documents and data, and Plaintiffs’ experts, in turn,

   will not have the benefit of sufficient data, documents, and testimony, nor ample time to analyze

   it and formulate their reports.

          In sum, there is more than good cause to modify the Scheduling Order. Plaintiffs seek

   relief, now, rather than at the eleventh hour, to avoid crisis and to have sufficient time to use and

   present their evidence and expert reports. If the schedule is not modified and Plaintiffs are

   required to proceed without discovery, their claims will be prejudiced and their right to redress

   abridged. Plaintiffs in the Related Actions ask this Court to make the identical adjustments in

   each action, so that all cases can be coordinated to follow the same schedule and so Plaintiffs

   may continue to coordinate on discovery, as they have been doing, consistent with this Court’s

   Order Establishing Plaintiffs’ Discovery Coordination Committee. (No. 20-cv-2600, Dkt. 93.)

   For the reasons set forth herein, the Court should grant Plaintiffs’ Motion as proposed in detail in

   Section IV, infra.

                                     II.     LEGAL STANDARD

          Rule 16(b)(4) of the Federal Rules of Civil Procedure governs modifications to

   scheduling orders. “Specifically, Rule 16(b)(4) permits district courts to amend or modify

                                                     4
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 7 of 24                         PageID 2615




   deadlines in a pretrial scheduling provided the movant demonstrates ‘good cause.’” Smith v. T.

   Marzetti Company, No. 18-cv-00089, 2019 WL 4044024, at *2 (W.D. Tenn. Aug. 27, 2019)

   (citing Fed. R. Civ. P. 16(b)(4)). When a deadline has not yet passed, Sixth Circuit courts apply

   the “good cause” standard. See, e.g., Papineau v. Brake Supply Co., No. 18-cv-00168, 2020 WL

   9459289, at *1 (W.D. Ky. Feb. 20, 2020) (citations omitted) (extending, for good cause shown, a

   discovery deadline and expert report deadline by 120 days where there were “additional

   depositions to be taken and … coordinating the schedules of the attorneys and witnesses [was]

   problematic”) (alterations in original). An extension is especially appropriate where Plaintiffs’

   experts will not have sufficient time to prepare their reports if an extension is not granted. See,

   e.g., Ruiz v. Bueno, No. 12-cv-0809, 2014 WL 347041, at *3 (S.D. Ohio Jan. 30, 2014) (finding

   that plaintiffs would be prejudiced if an extension was not granted where experts would not have

   time to obtain necessary information needed to make expert disclosures); Heisler v. Maxtor

   Corp., No. 06-cv-06634, 2011 WL 1496114, at *3 (N.D. Cal. Apr. 20, 2011) (granting extension

   of due date for expert report where expert report was highly relevant to plaintiffs’ claims).

          In the Related Actions, the scheduling orders also expressly provide that:

          [t]he deadlines for completing depositions and closing fact discovery are
          contingent on the Parties’ substantially completing production of data and
          documents sufficiently in advance of the February 18, 2022 deadline for
          completing depositions and closing fact discovery so that the Parties have
          sufficient time to prepare for and utilize the documents at depositions.

   (No. 20-cv-2600, Dkt. 61 at 3 n.2; No. 20-cv-2782, Dkt. 100 at 3 n.2; No. 20-cv-02892, Dkt. 61

   at 2 n.2) (emphasis added). That condition precedent has not occurred.

                                 III.    FACTUAL BACKGROUND

          A.      Fusion Elite Discovery

          The first complaint in Fusion Elite was filed against Varsity and USASF, in the

   Western District of Tennessee, on August 13, 2020. (No. 20-cv-2600, Dkt. 1.) A second


                                                     5
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 8 of 24                           PageID 2616




   followed on August 25, 2020 and was consolidated with Fusion Elite a few weeks later. (No.

   20-cv-02649, Dkt. 1; No. 20-cv-2600, Dkts. 23, 37.) Following an initial scheduling conference,

   Fusion Elite Plaintiffs filed their Consolidated Class Action Complaint on October 2, 2020, (Dkt.

   56), and the parties commenced discovery shortly thereafter, in accordance with this Court’s

   Scheduling Order, (Dkt. 61).

          Fusion Elite Plaintiffs have undertaken significant discovery efforts over the last 13

   months. They served requests for production on Varsity on October 16, 2020 and on USASF on

   October 19, 2020 and followed up with interrogatories on November 25, 2020. (Ex. 1, Van Dyck

   Decl. ¶2.) 2 At the time Plaintiffs served their requests for production, the scheduling order they

   had just negotiated called for production of responsive data 100 days later, on January 25, 2021,

   and document production 165 days later, on March 30, 2021. (No. 20-cv-2600, Dkt. 61 at 2.)

   However, the parties’ discovery negotiations significantly shifted these dates. (Ex. 1, Van Dyck

   Decl. ¶3.) Beginning in December 2020, Fusion Elite Plaintiffs engaged in nearly weekly

   discovery conferences with Varsity and USASF regarding defendants’ document and data

   productions. (Id. ¶4.) These conferences lasted until Plaintiffs moved to compel more complete

   responses from both on May 5, 2021. (Id.; Dkt. 104, 105.) Plaintiffs and Varsity were able to

   resolve the issues raised in Fusion Elite Plaintiffs’ motion prior to a hearing before the

   magistrate, but these ongoing negotiations significantly shifted production deadlines, which

   Fusion Plaintiffs had counted on in negotiating the deadlines adopted by the Court in the Fusion

   Elite Scheduling Order—for amendment of pleadings, the close of fact discovery, expert reports

   and briefing. (Dkt. 132.) While it made several document productions in December 2020 and

   early 2021, Varsity began producing the bulk of its custodial documents on June 14, 2021 and



   2 See Declaration of Katherine Van Dyck in support of Plaintiffs’ Joint Motion to Modify

   Scheduling Orders, attached as Exhibit 1 and cited herein as “Van Dyck Decl.”.
                                                     6
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 9 of 24                       PageID 2617




   has continued to produce documents on a rolling basis, making additional productions of

   documents and data in July, August, September, October, and November 2021. (Ex. 1, Van Dyck

   Decl. ¶5.) Varsity has, thus far, produced 96,783 3 documents. (Id.) Certain of Varsity’s

   document and data productions have occurred up to nine months (for data) and seven months

   (for documents) later than what the parties had originally contemplated at the time the Court

   adopted the operative Scheduling Order, due, in part, to ongoing negotiations.

          With respect to USASF, on June 28, 2021, this Court ordered Plaintiffs to refine their

   proposed search parameters, and USASF was ordered to “conduct searches based on the revised

   parameters.” (Dkt. 133 at 3.) Plaintiffs and USASF continue to negotiate appropriate parameters

   for USASF’s productions and have agreement on most search terms and many custodians. (Ex.

   1, Van Dyck Decl. ¶6.) However, significant document productions are outstanding. (Id.)

          Plaintiffs have also served 27 subpoenas duces tecum on non-parties between November

   2, 2020 and the present. (Id. ¶¶8, 10.) These non-parties include former Varsity employees Tres

   LeTard, Brian Elza, and Marlene Cota; ostensible competitors Nfinity Athletic LLC, Rebel

   Athletic Inc., and GK Elite Sportswear Inc.; investors such as Charlesbank Capital Partners and

   Partners Group AG, which acquired Varsity in December 2014, Ares Capital Corp., Barclays

   PLC, and Crescent Capital Group, which each provided financing for the December 2015

   acquisition, and Bain Capital LP, which acquired Varsity in June 2018; The Goldman Sachs

   Group, Jefferies LLC, and PricewaterhouseCoopers, which provided financial advice to Varsity

   through both acquisitions; Rubenstein Public Relations Inc., which has served as Varsity’s public

   relations advisor; Quinnipiac College, which was involved in a prior lawsuit involving

   cheerleading; and 10 independent cheerleading event producers. (Id. ¶8) Plaintiffs have received




   3 This figure does not include documents Varsity produced the day this Motion was filed.

                                                    7
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 10 of 24                        PageID
                                    2618



 approximately 86,000 documents in response from 8 of the subpoenaed organizations, though

 only 19 documents from Bain, who is a defendant in the other two related cases. (Id. ¶¶8-9.)

 Despite numerous teleconferences, the remaining 16 subpoenas are outstanding, including those

 served on Varsity’s ostensible competitors in the All Star Apparel market, one of which is the

 subject of a motion to compel filed in the Northern District of Texas on July 9, 2021, Fusion

 Elite All Stars, et al. v. Rebel Athletic Inc., No. 3:21-mc-00151, and another, Nfinity, that may

 require a similar enforcement action in the Northern District of Georgia. (Id. ¶9).

        Fusion Elite Plaintiffs have produced documents and data to Defendants and have

 scheduled depositions of gym employees for December 7, 9, 21, and 23, 2021. (Id. ¶14.)

        B.      Jones Discovery

        Jones Plaintiffs filed their Complaint on December 10, 2020. (No. 20-cv-2892, Dkt. 1.)

 On March 12, 2021, the Jones Defendants filed motions to dismiss the Complaint and a motion

 to strike class allegations. (No. 20-cv-02892, Dkts. 55 to 60.) On April 15, 2021, Plaintiffs filed

 oppositions to Defendants’ motions to dismiss. (No. 20-cv-02892, Dkts. 67 to 71.) On April 29,

 2021, Defendants filed their replies. (No. 20-cv-02892, Dkts. 72 to 76.) A ruling on those

 motions is still pending. However, discovery has been ongoing, in accordance with the

 scheduling order entered by this Court on April 7, 2021. ((No. 20-cv-02892, Dkt. 61.)

        In March 2021 and April 2021, Jones Plaintiffs served each Defendant in their case with

 a first set of requests for production of (“RFPs”), which focused on claims particular to Jones

 and supplementing what had been sought in Fusion. (Ex. 2, Spiegel Decl. ¶4.) 4 After many

 months of negotiations, correspondence, and good faith attempts to come to agreement, the

 production of responsive documents has been meager. Id. On September 18, 2021, Jones



 4 See Declaration of Ronnie S. Spiegel in support of Plaintiffs’ Joint Motion to Modify

 Scheduling Orders, attached as Exhibit 2 and cited herein as “Spiegel Decl.”.
                                                  8
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 11 of 24                         PageID
                                    2619



 Plaintiffs filed motions to compel against defendants Varsity, Charlesbank, Bain, and Jeff Webb.

 (No. 20-cv-02892, Dkts. 100 to 103.) The motions to compel against Charlesbank, Bain, and

 Webb are still pending, and the items that remain in dispute are scheduled for hearing by the

 Court on November 19, 2021. (No. 20-cv-02892, Dkt. 146.) It is also contemplated that Jones

 Plaintiffs will need to serve a second set of requests for production to address issues that may

 arise when Plaintiffs have an opportunity to review documents or as follow ups to depositions.

 (Ex. 2, Spiegel Decl. ¶8.) Documents related to school competitions, All Star and school camps,

 and school apparel, as well as other Jones-specific topics have not yet been searched or

 produced, and a number of key custodians, search terms, and the time period for production still

 remain in dispute. (Id. ¶5.) Defendant Jeff Webb has made a very limited production in Jones

 with the time period for production still in dispute, and production of text messages from Mr.

 Webb are still pending. (Id. ¶6.) Regarding Defendants Bain and Charlesbank, little to no

 substantive production has yet occurred in Jones on pending RFPs. (Id. ¶7.)

         To date, Jones Plaintiffs have also served approximately 40 subpoenas on All Star gyms,

 specifically seeking data related to the pass on of the alleged illegal overcharges from gyms to

 athletes (and their parents) – Plaintiffs in Jones. (Id. ¶11.) A number of gyms have been hard to

 locate and a number of gyms who have received subpoenas have asked for extensions. (Id.)

 Plaintiffs expect to serve a total of 70 gyms and would hope to receive substantive productions

 from each. (Id.) Jones Plaintiffs also plan to serve subpoenas on schools seeking this downstream

 data but hope to first receive the structured data related to schools sought in Jones, that has not

 yet been produced to Plaintiffs by Varsity. (Id.)

        Prior to October 25, 2021, Jones Plaintiffs completed their productions to Defendants for

 all three plaintiffs, and depositions are now scheduled or being scheduled. (Id. ¶12.)




                                                     9
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 12 of 24                       PageID
                                    2620



        C.      American Spirit Discovery

        American Spirit Plaintiffs filed their complaint on July 24, 2020. (No. 20-cv-2782,

 Dkt. 1.) After some difficulty gaining compliance with Rule 26(f), they secured a 26(f)

 conference on November 23, 2020. (No. 20-cv-2782, Dkt. 97.) On December 1, 2020, the

 corporate defendants filed four motions to dismiss and a motion to strike. (No. 20-cv-2782,

 Dkts 91 to 95.) On December 16, 2020, the Court issued a consent scheduling order in

 American Spirit nearly identical to that in Jones. (No. 20-cv-2782, Dkt. 100.) Thereafter, the

 American Spirit defendants requested—and the Court partially granted—a motion to stay

 most, if not all, scholastic discovery in American Spirit until the Court denied in whole or in

 part the pending motions to dismiss. (No. 20-cv-2782, Dkt. 132.) Since then, American

 Spirit Plaintiffs have conducted discovery commensurate to that described in the previous

 paragraphs in the other two cases. Currently, American Spirit Plaintiffs are filing a motion to

 allow the filing of an amended complaint to add parties and to realign class representatives

 raised by the American Spirit defendants as deficiencies in their dismissal motions. On

 October 28, 2021, the Court denied the corporate defendants’ motion to dismiss as to

 Varsity Brands Holding Co., Inc. (No. 20-cv-2782, Dkt. 141.) American Spirit Plaintiffs

 have been actively coordinating with the Plaintiffs’ counsel in the other two cases and many

 of the consent motions and briefs filed in the other two cases are not reflecting the American

 Spirit involvement due to some administrative glitch. Those pleadings are being filed but

 are not being reflected on the American Spirit docket. For instance, when this pleading gets

 filed, more likely than not, it will not be filed on the docket in the American Spirit case. We

 are currently trying to get that glitch straightened out. 5 Currently, however, three of the



 5 As of the filing of this Motion, American Spirit has been administratively related to Fusion

 Elite, so this issue should be resolved.
                                                 10
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 13 of 24                           PageID
                                    2621



 motions to dismiss and the motion to strike remain undecided in American Spirit. Evidently

 for that reason, the corporate defendants have thus far still refused to provide documents

 temporarily shielded by the aforementioned protective order. Consequently, to both allow

 for post-denial-of-motion-to-dismiss discovery and to track the Jones and Fusion Elite

 schedules as the Court previously advised, the American Spirit Plaintiffs approve and join

 this motion for an amended schedule.

        D.      Depositions

        Plaintiffs are also making best efforts to jointly schedule depositions, even with

 significant outstanding document productions and ongoing discovery disputes. Plaintiffs noticed

 the depositions of 12 current and former Varsity employees on October 18, 2021. (Ex. 1, Van

 Dyck Decl. ¶¶10-11.) Plaintiffs took the deposition of one former Varsity employee on

 November 16 and 17, 2021, and another is scheduled to take place on November 22, 2021. (Id.

 ¶10.) Four more are scheduled to take place over the course of the next several months, and

 Plaintiffs are waiting for Defendants to confirm available dates for the remaining five. (Id. ¶¶11-

 12.) Depositions of two plaintiffs and four plaintiffs’ employees are also scheduled to take place

 this year, while counsel for both parties are finding available dates for four more plaintiff

 witnesses. (Id. ¶14.) Finally, on November 15, 2021, Plaintiffs served a notice of deposition

 on Varsity, pursuant to Rule 30(b)(6), that will likely necessitate the depositions of multiple

 corporate designees. (Id. ¶13.) Under this schedule, depositions are set to take place on

 November 22, 2021; December 1, 4, 7, 9, 10, 21, and 23, 2021; January 11, 18 and 19, 2022; and

 February 1 and 2, 2022. (Id. ¶¶11, 14.)

        The Discovery Order in Fusion Elite allows for 55 depositions pursuant to Rule 30(b)(1).

 Jones Plaintiffs have a proposed a deposition protocol to defendants in Jones, seeking to define

 the total number of depositions and the protocol for depositions noticed in their own action.


                                                  11
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 14 of 24                        PageID
                                    2622



 Defendants have not yet responded. Jones Plaintiffs have proposed an additional 15 depositions

 (beyond the 55 allowed for in Fusion Elite) to cover the additional defendants in the Jones action

 (Defendants Jeff Webb, Charlesbank, and Bain). (Ex. 2, Spiegel Decl. ¶13.) Depositions of

 current and former employees of Defendants USASF, Bain, Charlesbank, BSN Sports, Stanbury,

 or Herff Jones have not been noticed or scheduled. Nor does the current schedule include Rule

 30(b)(6) depositions of the various corporate defendants or depositions of the scores of non-

 parties that Plaintiffs have subpoenaed. None of those can be scheduled until these parties have

 completed their productions and documents have been reviewed. As a result of these scheduling

 issues, extended written discovery negotiations and disputes, and the effects that such extended

 negotiations have had on document and data productions, Plaintiffs still have dozens of

 depositions left to take, out of the 55 permitted in Fusion Elite and the 15 requested in Jones.

 These are depositions all Plaintiffs require to build their cases.

        Even so, Plaintiffs are proceeding with depositions where documents for witnesses have

 not been produced and in areas where discovery has not begun, all in an effort to move the case

 forward. That said, Jones Plaintiffs have not received substantial discovery from defendants

 Varsity, Jeff Webb, Bain, or Charlesbank so as to be able to proceed. Fusion Elite Plaintiffs have

 not received any discovery related to the sexual misconduct allegations that are subject to Varsity

 and USASF’s pending motion to strike. Nor have American Spirit Plaintiffs received any

 discovery related to academic regalia and band uniform markets that are the subject of a pending

 motion to dismiss. Thus, no depositions of those defendants and their employees have been

 scheduled, and no questioning related to those topics can occur. And under the current

 scheduling orders, witnesses’ depositions may have to be held open to allow for questioning

 once Plaintiffs receive more complete documents and data.




                                                   12
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 15 of 24                         PageID
                                    2623



                                        IV.     ARGUMENT

        A.      Plaintiffs Have Acted Diligently and Seek Additional Time Before
                Deadlines Pass

        The factors this Court considers when considering amendments to scheduling orders

 favor the relief Plaintiffs seek. Plaintiffs come to this Court ahead of the deadline for depositions

 and fact discovery because it is apparent now—with discovery motions pending, significant

 document productions and depositions outstanding, and three months remaining—that additional

 time will be required.

        The original period for completion of discovery, ranging from 16 months in Fusion Elite

 to just 10 months in Jones, is fairly compressed, particularly when compared to other antitrust

 cases or class actions involving similar complex disputes. In these cases, “broad discovery may

 be needed to uncover evidence of invidious design, pattern, or intent.” In re Urethane Antitrust

 Litig., 261 F.R.D. 570, 573 (D. Kan. 2009); see also In re Cathode Ray Tube (CRT) Antitrust

 Litig., No. 07-cv-5944, 2014 WL 5462496, at *8 (N.D. Cal. Oct. 23, 2014) (same).

        The parties are doing their best to achieve a workable schedule, with individuals

 scheduled to be deposed on Saturdays and various other accommodations made. But even under

 the most cooperative scenario, where all witnesses are available and the parties smoothly

 schedule dates and coordinate on depositions, completing depositions by February 18, 2022 is

 not feasible. Many depositions require coordinating the schedules of three sets of Plaintiffs’

 counsel, three sets of defense counsel, the witness, and, often times, a separate lawyer for the

 witness. Then, when depositions are noticed in all three Related Actions, the parties must find

 two consecutive days to allow for the full 11 hours allotted by this Court and sufficient time for

 plaintiffs and defendants in each of the Related Actions to question the witnesses. (For example,

 within hours of the Court’s granting Plaintiffs’ motion regarding deposition time, counsel for

 Varsity notified counsel in Fusion Elite that at least one deposition set for the following week
                                                  13
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 16 of 24                          PageID
                                    2624



 would have to be rescheduled to allow for sufficient time for questioning the witness. 6 This

 logistical complexity on its own is good cause to extend the deadlines in light of the extensive

 discovery already conducted by the parties. Papineau, 2020 WL 9459289, at *2. The Related

 Actions’ scheduling orders specifically provide for extensions where documents are not

 produced in time for the parties to prepare and use them at deposition. (No. 20-cv-2600, Dkt. 61

 at 3 n.2; No. 20-cv-2782, Dkt. 100 at 3 n.2; No. 20-cv-02892, Dkt. 61 at 2 n.2.). It is now

 apparent that substantial documents and data will not be produced in time for Plaintiffs to have

 key documents in hand for depositions that began on November 16, 2021 and must take place

 (under the operative schedule) prior to February 18, 2022. Further, Plaintiffs will not have

 sufficient time to complete even a substantial fraction of their 55+ depositions before February

 18, 2022, due to the deficiencies in the document and data productions and scheduling issues. In

 addition, Plaintiffs’ experts will likely not have adequate time to process and analyze key data,

 documents, and testimony to provide their reports by the current March 18, 2022 deadline. The

 deadlines for motions to join new parties and to amend pleadings (currently both November 19,

 2021) are also in peril as they are largely dependent on having sufficient discovery to uncover

 facts and make determinations on the liability of additional parties. Indeed, just this week, at the

 first deposition in these cases of Varsity’s former General Manager, Vice President of Sales,




 6 Scheduling depositions will be further complicated because The Joseph Saveri Law Firm

 (“JSLF”) is lead counsel in In Re Capacitors Antitrust Litigation in the Northern District of
 California ((No. 3:14-cv-03264-JD, Dkt. 2809), which is set to begin a multi-week trial on
 November 29, 2021. This impacts several key attorneys who will participate in depositions in
 this matter from JSLF, including the lead attorney in this case for Jones, Joseph Saveri, as well
 as two key attorneys for Fusion Elite Plaintiffs, Eric Cramer and Mark Suter, who are also
 participating in the Capacitors trial. (Ex. 1, Van Dyck Decl. ¶14.) The Capacitors trial originally
 began on March 4, 2020 but came to a sudden halt as a result of the pandemic. (Dkts. 2618,
 2644-1.) The trial was eventually terminated, and the retrial was set on June 8, 2021, eight
 months after the scheduling order in Fusion Elite was entered and two months after the
 scheduling order in Jones was entered. (Dkts. 2673, 2809; Ex. 2, Spiegel Decl. at ¶14.)
                                                  14
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 17 of 24                         PageID
                                    2625



 Brian Elza, Plaintiffs heard testimony for the first time about Bain’s involvement in the

 management of Varsity.

        Notably, the deadlines at issue have not yet passed. Depositions hinge, in significant part,

 on the production of relevant documents. For defendants Jeff Webb, Charlesbank, and Bain,

 many items subject to motions to compel are still pending, including disputes over custodians,

 search terms, time periods, and other specific topics and types of documents to be produced.

 While USASF has agreed to some production in Jones and Fusion Elite, it is still negotiating

 custodians and search terms in Fusion Elite, which is causing a delay of that information in

 Jones and American Spirit as well. Further, numerous depositions are outstanding and certain

 depositions are being re-scheduled, per Varsity’s request.

        Finally, Fusion Elite and Jones Plaintiffs are still working to obtain responses to the

 scores of subpoenas they served, in some cases a year ago. Fusion Elite Plaintiffs have received

 responses to 8 of the 24 subpoenas they served on businesses, and they await a ruling in the

 Northern District of Texas on their motion to compel responses from All Star Apparel

 manufacturer Rebel Athletic Inc. (where briefing was completed in August). (Ex. 1, Van Dyck

 Decl. ¶¶8-9.) Jones Plaintiffs have served approximately 40 subpoenas. (Ex. 2, Spiegel Decl.

 ¶11.) Most of these organizations are unfamiliar with the subpoena process, and some do not

 have counsel and do not keep their data in an easily accessible format. As a result, these non-

 parties need time and outreach to comply with a subpoena. Each organization may keep data in a

 different format or structure. (Id.) This too needs to be addressed and takes time. (Id.) It can

 involve initial sampling and then follow up meet and confers on the structure and fields of how

 the data will be produced. (Id.) Of the subpoenas served so far, none have yet returned any data,

 and several have already sought extensions of time. (Id.)




                                                  15
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 18 of 24                        PageID
                                    2626



        Depositions are now beginning, even though sufficient documents will not be in hand, in

 at least two of the Related Actions. For Bain and Charlesbank, where essentially no custodial or

 substantive documents have yet been produced and where those defendants are taking the

 position that they will not even engage in discussion prior to rulings on those motions to compel,

 depositions cannot even be noticed. (Id. ¶14.) While agreed, Varsity’s production of data related

 to camps and schools has not yet occurred in Jones. Similarly, the expected time for serving,

 negotiating, and receiving productions from subpoenaed gyms and schools may be lengthy.

        B.      Plaintiffs Will Be Unduly Prejudiced Under the Current Schedule

        As indirect purchasers, Jones Plaintiffs must show not only the initial level of alleged

 illegal overcharge in each of the Relevant Markets alleged (i.e., the overcharge from Varsity to

 All Star gyms and schools re competitions, camps, and apparel) but also the “pass on” of those

 overcharges to class members in each Relevant Market (i.e., the illegal overcharges passed on

 from All Star gyms and schools to athletes and their families). See, e.g., In re TFT-LCD (Flat

 Panel) Antitrust Litig., 267 F.R.D. 583, 601 (N.D. Cal. Mar. 28, 2010) (order certifying indirect

 purchaser class and explaining standard for showing antitrust impact and the steps taken by

 indirect expert to show pass through); In re Static Random Access Memory (SRAM) Antitrust

 Litig., 264 F.R.D. 603, 605-606 (N.D. Cal. Nov. 29, 2009) (order granting plaintiffs’ motion for

 class certification and explaining standards for showing pass through). As in most antitrust cases

 where monopoly or conspiracy is alleged, overcharges and pass on are usually evaluated by the

 plaintiffs’ experts, using transactional data received from parties and non-parties. Here, Varsity

 has not yet produced data for the initial level of overcharge related to schools and camps. And

 while service of subpoenas has been completed or attempted on approximately 40 gyms in Jones

 seeking data related to the pass on, no data has been received, and a number of gyms have

 indicated that they will need an extension. (Ex. 2, Spiegel Decl. ¶11.)


                                                 16
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 19 of 24                             PageID
                                    2627



         As described more fully in the Spiegel Declaration, analysis of data involves

 transactional data from Varsity as well as gyms and schools. (Id. ¶10.) Even where defendants do

 agree to work cooperatively with Plaintiffs on production of data, there is often a back-and-forth

 between the parties to work out issues such as missing fields, requests for data dictionaries, or to

 clarify terms or the structure of the data. (Id.) This process has taken several months in Fusion

 Elite and remains ongoing.

         Once data is received from Varsity, gyms, and schools, it will still need to be normalized,

 synthesized, and analyzed. (Id.) This generally requires some consolidation of data by experts

 into a workable dataset and reviewing variables, assessing what may be missing, and “cleaning”

 data so that it is in a usable format for analysis. (Id.) Finally, there is analysis of the data by

 Plaintiffs’ experts once the dataset is built. This analysis often yields additional questions about

 the data, which necessitates additional meet and confers or clarification. (Id.) Plaintiffs’ experts

 will also consider documents, testimony, and data from defendants and third parties to assess

 each market, its scope, and likely comparison markets or “benchmarks,” which may also come

 from additional discovery requests or third parties. (Id. ¶9.)

         Fusion Elite Plaintiffs similarly require third-party transactional data to compare

 Varsity’s costs and prices to those of its alleged competitors. Such data “is the lifeblood of

 economic analyses presented in all or almost all antitrust cases.” (Ex. 3, Singer Decl. ¶14.) 7 It

 “allow[s] an economist to test for the potential presence of anticompetitive effects in a market”

 and “is critical for antitrust analysis, such as evaluating the impact of Defendants’ conduct on

 prices over time and to quantify the aggregate damages to the proposed [c]lass[es].” (Id. ¶¶2, 14.)




 7 See Declaration of Hal J. Singer, Ph.D, attached as Exhibit 3.

                                                    17
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 20 of 24                         PageID
                                    2628



 Thus, Plaintiffs’ expert reports require sufficient documents, data, and testimony to analyze and

 prepare their reports for class certification, summary judgment, and trial.

        In addition, discovery has not even begun on a number of issues raised in Plaintiffs’

 complaints. As noted in a previous filing with this Court, Fusion Elite Plaintiffs’ allegations

 regarding the Varsity and USASF Defendants’ conduct concerning sexual misconduct and

 background checks are subject to a pending Motion to Strike, and discovery concerning those

 allegations is currently stayed. (No. 20-cv-2600, Dkt. 155-1 at 5-6 n.4.) And the American Spirit

 Plaintiffs may not obtain discovery regarding several Defendants and topics until the Court

 denies defendants’ motions to dismiss the American Spirit complaint. (Id.; No. 20-cv-02782,

 Dkt. 132 at 4.) Those topics are particularly wide-ranging. Requiring the Fusion Elite and

 American Spirit Plaintiffs to complete that discovery within the next three months would create

 significant prejudice.

        Under the current Scheduling Order, without the essential data and documents that only

 defendants and non-parties can provide, and enough time in hand to confirm and make sense of

 such discovery and explore it in depositions, Plaintiffs’ experts will not have sufficient time to

 prepare their reports, Plaintiffs will not have sufficient time to conduct discovery on key aspects

 of their claims, and Plaintiffs will suffer irreparable prejudice. Accordingly, Plaintiffs propose

 extending the current deadlines by four months.

                                       V.     CONCLUSION

        For the foregoing reasons, Plaintiffs request that the Scheduling Orders be modified to

 extend the deadlines as set forth in their Motion and the proposed order submitted herewith.




                                                  18
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 21 of 24         PageID
                                    2629



 Dated: November 18, 2021           Respectfully submitted,


                                    By: /s/ Katherine Van Dyck
                                    Jonathan W. Cuneo*
                                    Katherine Van Dyck*
                                    Victoria Sims*
                                    CUNEO GILBERT & LADUCA, LLP
                                    4725 Wisconsin Avenue NW, Suite 200
                                    Washington, DC 20016
                                    Telephone: (202) 789-3960
                                    jonc@cuneolaw.com
                                    kvandyc@cuneolaw.com
                                    vicky@cuneolaw.com

                                    H. Laddie Montague, Jr.*
                                    Eric L. Cramer*
                                    Michael Kane*
                                    Mark R. Suter*
                                    BERGER MONTAGUE PC
                                    1818 Market Street, Suite 3600
                                    Philadelphia, PA 19106
                                    Telephone: (215) 875-3000
                                    hlmontague@bm.net
                                    ecramer@bm.net
                                    mkane@bm.net
                                    msuter@bm.net

                                    Gregory S. Asciolla*
                                    Karin E. Garvey*
                                    Veronica Bosco*
                                    LABATON SUCHAROW LLP
                                    140 Broadway New York, NY 10005
                                    Telephone: (212) 907-0700
                                    gasciolla@labaton.com
                                    kgarvey@labaton.com
                                    vbosco@labaton.com

                                    Interim Co-Lead Counsel in the Fusion Elite Action
                                    for the Proposed Direct Purchaser Class

                                    J. Gerard Stranch, IV (TN BPR #23045)
                                    Benjamin A. Gastel (TN BPR #28699)
                                    BRANSTETTER, STRANCH & JENNINGS,
                                    PLLC
                                    223 Rosa Parks Ave. Suite 200
                                    Nashville, TN 37203
                                    Telephone: (615) 254-8801
                                      19
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 22 of 24           PageID
                                    2630



                                    gerards@bsjfirm.com
                                    beng@bsjfirm.com

                                    Liaison Counsel in the Fusion Elite Action for the
                                    Proposed Direct Purchaser Class

                                    Benjamin D. Elga*
                                    JUSTICE CATALYST LAW, INC.
                                    81 Prospect Street Brooklyn, NY 11201
                                    Telephone: (518) 732-6703
                                    belga@justicecatalyst.org

                                    Craig L. Briskin*
                                    JUSTICE CATALYST LAW, INC.
                                    718 7th Street NW Washington, DC 20001
                                    Telephone: (518) 732-6703
                                    cbriskin@justicecatalyst.org

                                    Roberta D. Liebenberg*
                                    Jeffrey S. Istvan*
                                    Mary L. Russell*
                                    FINE KAPLAN AND BLACK, R.P.C.
                                    One South Broad St., 23rd Floor
                                    Philadelphia, PA 19107
                                    Telephone: (215) 567-6565
                                    rliebenberg@finekaplan.com
                                    jistvan@finekaplan.com
                                    mrussell@finekaplan.com

                                    Nathan A. Bicks (TN BPR #10903)
                                    Frank B. Thacher III (TN BPR #23925)
                                    BURCH, PORTER, & JOHNSON, PLLC
                                    130 North Court Ave.
                                    Memphis, TN 38103
                                    Telephone: (901) 524-5000
                                    nbicks@bpjlaw.com
                                    fthacher@bpjlaw.com

                                    Aubrey B. Harwell, Jr. (TN BPR #002559)
                                    Charles Barrett (TN BPR #020627)
                                    Aubrey B. Harwell III (TN BPR #017394)
                                    NEAL & HARWELL, PLC
                                    1201 Demonbreun St., Suite 1000 Nashville, TN
                                    37203
                                    Telephone: (615) 244-1713
                                    aharwell@nealharwell.com
                                    cbarrett@nealharwell.com
                                    tharwell@nealharwell.com
                                      20
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 23 of 24          PageID
                                    2631




                                    Counsel in the Fusion Elite Action for the Proposed
                                    Direct Purchaser Class

                                    Joseph R. Saveri*
                                    Steven N. Williams*
                                    Ronnie Seidel Spiegel*+
                                    Katharine A. Malone*
                                    Anna-Patrice Harris*
                                    JOSEPH SAVERI LAW FIRM, LLP
                                    601 California Street, Suite 1000
                                    San Francisco, California 94108
                                    Telephone: (415) 500-6800
                                    Facsimile: (415) 395-9940
                                    jsaveri@saverilawfirm.com
                                            swilliams@saverilawfirm.com
                                            rspiegel@saverilawfirm.com
                                            kmalone@saverilawfirm.com
                                            aharris@saverilawfirm.com

                                    Van Turner (TN Bar No. 22603)
                                    BRUCE TURNER, PLLC
                                    2650 Thousand Oaks Blvd., Suite 2325
                                    Memphis, Tennessee 38118
                                    Telephone: (901) 290-6610
                                    Facsimile: (901) 290-6611
                                    Email: vturner@bruceturnerlaw.net

                                    Richard M. Paul III*
                                    Sean R. Cooper*
                                    PAUL LLP
                                    601 Walnut, Suite 300
                                    Kansas City, Missouri 64106
                                    Telephone: (816) 984-8100
                                    Email: rick@paulllp.com
                                           sean@paulllp.com

                                    Jason S. Hartley*
                                    HARTLEY LLP
                                    101 West Broadway, Suite 820
                                    San Diego, CA 92101
                                    Telephone: (619) 400-5822
                                    Email: hartley@hartleyllp.com

                                    Daniel E. Gustafson*
                                    Daniel C. Hedlund*
                                    Daniel J. Nordin*
                                    GUSTAFSON GLUEK PLLC
                                      21
Case 2:20-cv-02892-SHL-tmp Document 163-1 Filed 11/18/21 Page 24 of 24           PageID
                                    2632



                                    Canadian Pacific Plaza 120 South Sixth Street,
                                    Suite 2600
                                    Minneapolis, MN 55402
                                    Telephone: (612) 333-8844
                                    Facsimile: (612) 339-6622
                                    dgustafson@gustafsongluek.com
                                    dhedlund@gustafsongluek.com
                                    dnordin@gustafsongluek.com

                                    Attorneys in the Jones Action for Individual and
                                    Representative Plaintiffs

                                    Robert A. Falanga*
                                    Kobelah Svensen Bennah*
                                    LAW OFFICES
                                    FALANGA & CHALKER
                                    11200 Atlantis Pl #C
                                    Alpharetta, GA 30022
                                    Phone: (770) 955-0006
                                    Fax: (770) 955-2123

                                    Interim Lead Class Counsel in the American Spirit
                                    Action for the Proposed Independent Event
                                    Production Class, the Competitive Recreational,
                                    College, High School or Junior High School
                                    Student Parent Class, the Apparel, Athletic
                                    Equipment and Merchandise Class, and the Cheer
                                    Camp Market Class

                                    * Admitted pro hac vice

                                    +Located in Washington State




                                      22
